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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05;¢§2? gmiylé

 

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H. JACK nowNEY, ELIZABETH WD.oFxN.MhMMMS

M. DOWNEY, PAUL F. ALEXANDER,
and BRYAN L. SANDERS,

Plaintiffs,
v. No. 04~3009 Ml/P
DUNcAN wILLIAMs, INc.,

Defendant.

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ORDER REGARDING STATUS CONFERENCE

 

A status conference in this case will be held on April 25,
2005, et 9:00 a.m. On April 18, 2005, Plaintiffs moved the Court
to participate in the conference by telephone. Plaintiffs'
motion is GRANTED. The Court will contact Plaintiffs' counsel to
initiate the conference. Defendant may appear in person at the

conference.

So ORDERED this Lpth day of April, 2005.

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J N P. MCCALLA
NITED STATES DISTRICT JUDGE

 

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John B. Veach
FALLS & VEACH
1143 SeWanee Rd.
Nashville, TN 37220

Allan J. Wade

ALLAN J. WADE, PLLC.

119 S. Main St.
Ste. 700
1\/1emphis7 TN 38103

Harold Naill Falls
FALLS & VEACH
1143 SeWanee Rd.
Nashville, TN 37220

Lori Hackleman Patterson

ALLAN J. WADE, PLLC.

119 S. Main St.
Ste. 700
1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

